     Case 2:06-cr-00478-WJM Document 34 Filed 11/02/20 Page 1 of 5 PageID: 228




                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY

    UNITED STATES,                                                                  No. 06-cr-478-WJM

    v.

    KENNETH GRAHAM.                                                                       OPINION


WILLIAM J. MARTINI, U.S.D.J.:

        This matter comes before the Court on Defendant Kenneth Graham’s (the
“Defendant”) motion for compassionate release and reduction in sentence pursuant to 18
U.S.C. § 3582(c)(1)(A) in light of the COVID-19 pandemic. ECF No. 31. For the reasons
set forth below, the motion is GRANTED.
I.       BACKGROUND
       On February 8, 2007, Defendant pleaded guilty to Counts Five and Six of a seven
count Superseding Indictment for robbing a Valley National Bank in Fairlawn, New Jersey
in violation of 18 U.S.C. §§ 2113(a), (d) and brandishing a firearm in the course thereof in
violation of 18 U.S.C. § 924(c)(1)(A)(ii), respectively. Upon entering his guilty plea,
Defendant further admitted to his armed robbery of two additional banks – the Bank of
America in Belleville, New Jersey on January 7, 2006 and the PNC Bank in Clifton, New
Jersey on February 16, 2006. On June 27, 2007, the Court sentenced Defendant to a term
of imprisonment of 204 months. ECF No. 25.
        Defendant is currently incarcerated at FCI Edgefield in South Carolina, and is
expected to be released from his incarceration during either the final week of December
2020 or the first week of January 2021. 1 While incarcerated, Defendant has worked to
rehabilitate himself by, among other things, earning his GED in 2014 and completing a
variety of courses and programs to assist Defendant in securing gainful employment upon
his release, including courses in interview preparation and in the culinary arts. See Cimino
Cert., Ex. E. Unfortunately, Defendant, a 48 year old male, suffers from several medical
conditions, including diabetes, high blood pressure, and high cholesterol, for which he
receives daily medication. See id., Ex. A. Defendant also states that he suffers from
“chronic obesity and depression.” Def. Br. at 7.


1
  The parties apparently disagree over the exact date for Defendant’s anticipated release. Defendant states that he is
expected to be released on December 29, 2020. Def. Br. at 3. The Government states that Defendant’s anticipated
release date is December 31, 2020. Gov. Opp. at 2, ECF No. 33. The Bureau of Prisons’ own website indicates a third
expected release date of January 3, 2021. See Find an Inmate, Federal Bureau of Prisons (last visited October 27,
2020), https://www.bop.gov/inmateloc/. The difference in these dates, however, is immaterial to the Court’s analysis
and conclusion.
  Case 2:06-cr-00478-WJM Document 34 Filed 11/02/20 Page 2 of 5 PageID: 229




II.    DISCUSSION
       Under the First Step Act, the Court may grant a defendant’s motion for
compassionate release or a reduction in his sentence if the defendant shows that (1) he has
exhausted all administrative remedies prior to seeking judicial review; and (2) compelling
and extraordinary reasons exist to justify such release. United States v. Sellers, Crim. No.
10-434 (RMB), 2020 WL 1972862, at *1 (D.N.J. Apr. 24, 2020). Here, the parties do not
dispute that Defendant has exhausted his administrative remedies: Defendant initially
requested a reduction in his sentence based on his concerns over COVID-19 on April 21,
2020, which was denied by the FCI Edgefield’s warden in a letter dated June 15, 2020.
Cimino Cert., Ex. B. Because more than thirty days have passed since the request for a
reduction in sentence and the subsequent denial thereof, the Court may properly consider
Defendant’s motion. The Court therefore focuses its analysis on the merits of Defendant’s
motion.
       In deciding a defendant’s motion for compassionate release, the Court considers
whether “(1) extraordinary and compelling reasons warrant a reduction, (2) the reduction
would be consistent with applicable policy statements issued by the Sentencing
Commission, and (3) the applicable sentencing factors under § 3553(a) warrant a
reduction.” United States v. Berry, Crim. No. 10-051-1 (NLH), 2020 WL 4035457, at *2
(D.N.J. July 17, 2020). Defendant argues that he should be released due to the outbreak of
COVID-19, his medical conditions, the temporal proximity to his expected release date,
and his rehabilitation. The Government opposes the request, arguing that both Defendant’s
pre-existing medical conditions as well as the risk of COVID-19 transmission are
adequately managed by the Federal Bureau of Prisons’ (the “BOP”) guidelines, as put into
place at FCI Edgefield, and that an early release would pose a danger to the safety of the
community and fail to reflect the seriousness of the offenses for which Defendant is
incarcerated. The Court agrees with Defendant, and will grant his motion.
       A.     Whether Compelling and Extraordinary Reasons Exist
        The U.S. Sentencing Commission’s Policy Statement regarding the reduction of a
defendant’s sentence, which provides useful guidance for the Court in assessing the
Defendant’s eligibility for compassionate release, identifies several non-exhaustive
considerations that may support a finding of “compelling and extraordinary” reasons
sufficient to warrant such reduction, including, as relevant here, a defendant’s medical
condition. U.S.S.G. § 1B1.13, Application Note 1. In the context of the COVID-19
pandemic, the inquiry into whether a defendant’s medical conditions establish “compelling
and extraordinary reasons” warranting a reduction in his sentence “has two components:
(a) identification of a medical condition that renders the defendant particularly vulnerable
to serious consequences if infected with COVID-19; and (b) the likelihood of COVID-19
infection, with particular reference to conditions in the institution in which the defendant
is incarcerated.” United States v. Moore, No. 19-101 (KM), 2020 WL 4282747, at *3
(D.N.J. July 27, 2020).



                                             2
  Case 2:06-cr-00478-WJM Document 34 Filed 11/02/20 Page 3 of 5 PageID: 230




        Here, Defendant states that he suffers from “diabetes, high blood pressure, high
cholesterol, chronic obesity and depression.” Defendant’s available medical records
indicate that he receives daily medication for his diabetes, high blood pressure, and high
cholesterol, but there is no report or note specifically concerning Defendant’s obesity and
depression. See Cimino Cert., Ex. A. Of Defendant’s medical conditions for which he is
currently receiving treatment, both Defendant’s diabetes and high blood pressure have been
specifically identified by the Centers for Disease Control and Prevention as conditions
which create or may create “an increased risk for severe illness from the virus that causes
COVID-19.”         People       with       Certain       Medical     Conditions,      CDC,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (last visited Oct. 29, 2020). The Government admits that these
conditions may render Defendant less able to protect himself from severe illness caused by
COVID-19, but argues that the measures taken by the BOP, including at FCI Edgefield,
have minimized the risk of COVID-19 transmission. Gov. Opp. at 5. Notwithstanding the
BOP’s extensive and commendable efforts at limiting COVID-19 transmission within
correctional facilities, however, these policies are not foolproof. Since the filing of
Defendant’s motion, South Carolina has seen over 20,000 new COVID-19 cases. South
Carolina County-Level Data for COVID-19, S.C. DEP’T OF HEALTH & ENV’T CONTROL,
https://scdhec.gov/covid19/south-carolina-county-level-data-covid-19 (last visited Oct.
29, 2020). With respect to FCI Edgefield itself, at least one inmate and sixteen staff
members currently have active cases of COVID-19. COVID-19 Cases, FED. BUREAU OF
PRISONS, https://www.bop.gov/coronavirus/ (last visited Oct. 29, 2020). While these
figures do not necessarily mean Defendant will in fact get COVID-19, the risk of such
transmission is not insignificant and supports a finding of “compelling and extraordinary
reasons” to grant Defendant’s motion for compassionate release.
       Evidence of Defendant’s rehabilitation provides further support. Although a
defendant’s rehabilitation is insufficient, standing alone, to constitute “compelling and
extraordinary reasons,” it may contribute as evidence in support of such a finding. United
States v. McNair, – F.3d –, 2020 WL 5036201, at *5 (D.N.J. Aug. 26, 2020). Here, during
his incarceration, Defendant has received his GED, completed programs in anger
management and to improve his mindset, and completed numerous additional programs to
prepare himself to build a career following his release, including courses and certifications
related to the culinary arts and food service industries. See Cimino Cert., Ex. E. Further,
the Court is not aware of any incidents during Defendant’s incarceration that suggest that
Defendant is not rehabilitated.
        Finally, the Court notes the close proximity between the date hereof and
Defendant’s expected release date. Absent a compassionate release, Defendant is expected
to be released from prison in approximately two months. If Defendant’s motion is granted,
and Defendant is required to further quarantine before his release, the time between
Defendant’s compassionate release and his expected release date would be even less.
Accordingly, the time remaining on Defendant’s sentence is marginal when viewed next
to the profound health consequences Defendant is at an increased risk of suffering if he


                                             3
  Case 2:06-cr-00478-WJM Document 34 Filed 11/02/20 Page 4 of 5 PageID: 231




contracts COVID-19. See United States v. Rodriquez, 451 F. Supp. 3d 392, 405 (E.D. Pa.
2020). The proximity to Defendant’s expected release date thus further supports a finding
of compelling and extraordinary reasons to grant Defendant’s motion.
       B. Consistency with Applicable Policy Statements
       The Sentencing Commission’s Policy Statement provides the Court may only grant
a reduction in a Defendant’s sentence if “[t]he defendant is not a danger to the safety of
any other person or to the community, as provided in 18 U.S.C. § 3142(g).” U.S.S.G. §
1B1.13(2). Under Section 3142(g), the Court considers the following factors in evaluating
a defendant’s dangerousness: (1) the nature and circumstances of the offense; (ii) the
weight of the evidence against the person; (iii) the history and characteristics of the person;
and (iv) the nature and seriousness of the danger to any person or the community that would
be posed by the person’s release.” 18 U.S.C. § 3142(g).
       Here, the Court is troubled by both the seriousness of the offenses for which
Defendant pleaded guilty and is currently incarcerated, and by Defendant’s long history of
criminal activity. Defendant’s use of a firearm in the course of a bank robbery is, of course,
a serious and violent criminal act. Likewise, Defendant’s recidivism and multiples arrests
and convictions for, among other things, possession of a stolen vehicle, burglary, and
felony possession of a firearm suggest that Defendant may pose a danger to others. On the
other hand, Defendant appears to have taken a number of affirmative steps during his
incarceration to improve and rehabilitate himself, as noted above. Moreover, because
Defendant’s release date is only approximately two months away regardless of whether the
Court grants Defendant’s motion, it is not clear to the Court that a reduced sentence, with
supervised release, would result in any substantial increase in the danger posed to any
person or community by Defendant. Finally, as discussed below, the Court may fashion
appropriate conditions to any period of supervised release in order to mitigate any danger
Defendant may pose. While this is a close case, in light of the above considerations, the
Court concludes that Defendant does not pose a danger to any person or to any community
such that his request for compassionate release cannot be granted.
       C. Applicable 18 U.S.C. § 3553(a) Factors
        Finally, the Court concludes that the applicable Section 3553(a) factors, some of
which overlap with those under Section 3142(g) previously discussed, further support a
reduction in Defendant’s sentence. The Court has already noted, and balanced, the serious
nature of the offenses for which Defendant is currently incarcerated, his prior criminal
history, and the efforts he has undertaken to rehabilitate himself. Beyond these
considerations, the Court concludes that a reduction in Defendant’s sentence would not in
any way downplay the seriousness of these offenses, fail to promote respect for the law, or
fail to provide just punishment. As noted, only two months remain on Defendant’s initial
204-month term of imprisonment (apparently adjusted for good conduct). Of the
approximately 175 months Defendant is set to be in prison between the date of his arrest
in May 2006 and his expected released date in December 2020, Defendant has served 173,
representing 99% of his expected prison term. Accordingly, the purposes of Defendant’s


                                              4
  Case 2:06-cr-00478-WJM Document 34 Filed 11/02/20 Page 5 of 5 PageID: 232




sentence have been adequately fulfilled already and the reduction thereof would not result
in any unwarranted sentence disparities for those convicted of similar offenses.
       D. Terms of Release
       The Government requests that, if the Court grants Defendant’s motion, that it
impose a “substantial term of home confinement as a condition of supervised release.”
Gov. Opp. Br. at 7 n.2. The Court agrees that such a condition is warranted in this case.
Though the Court has no authority to modify the conditions of a Defendant’s imprisonment
by ordering a transfer to home confinement, the Court, having already granted Defendant’s
motion for a reduction in his sentence, may impose conditions upon Defendant’s
supervised release, including a condition of home confinement. Moore, 2020 WL 4282747,
at *8. As noted above, given Defendant’s criminal history, and the seriousness of his
offenses, the safety of the public remains a concern. Accordingly, the Court finds that home
confinement serves as an adequate substitute for Defendant’s imprisonment, and will
impose home confinement as a condition of Defendant’s supervised release for the length
of time equal to the unserved portion of Defendant’s term of imprisonment.
III.   CONCLUSION
       For the reasons set forth above, Defendant’s motion for compassionate release and
a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), ECF No. 31, is
GRANTED. As a condition of his supervised release, Defendant shall be placed under
home confinement for the length of time equal to the unserved portion of Defendant’s term
of imprisonment. All other aspects of Defendant’s original sentence remain unchanged. An
appropriate Order follows.

                                                 /s/ William J. Martini
                                                 WILLIAM J. MARTINI, U.S.D.J.


       Date: November 2, 2020




                                             5
